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                      Exhibit 3
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       TRADE SURVEILLANCE MANUAL

                            Version 1

                            July 2021




                        CONFIDENTIAL

         FOR TRADE SURVEILLANCE USE ONLY
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PURPOSE

This surveillance manual sets forth the trade monitoring and supervision duties of
Binance.US as part of its regulatory program. The manual is a reference for Binance.US
Trade Surveillance Department (“Department”) personnel performing Trade Surveillance
activities and is governed by Binance.US Exchange (“Exchange”) rules. Content is
subject to change to anticipate upcoming regulatory changes and scenarios. Questions
or concerns should be directed to the Trade Surveillance Manager, Head of Risk, or Chief
Compliance Officer (“CCO”).



TRADE SURVEILLANCE PROGRAM

Under the Commodity Exchange Act (“CEA”) and Commodity Futures Trading
Commission (“CFTC”), Binance.US is subject to the Core Principles of the CEA and
Regulatory Reporting Requirements.

Binance.US Trade Surveillance Program is responsible for trade surveillance to detect
disruptive trading practices, prevent market manipulation, market congestion, and price
distortion. Trade Surveillance licenses Eventus’ Validus surveillance software and tools
to monitor, observe, and review trade lifecycles while addressing all alerts generated
within the Validus platform.

CFTC Core Principle 4 requires exchanges to collect and evaluate market data with the
capacity to prevent disruptions. Binance.US Trade Surveillance Staff (“Staff”) ensures
that the Exchange responds appropriately to the fundamentals of underlying
cryptocurrency markets.



CONFIDENTIALITY

Confidential trade or transaction information should not be included in communications
outside of the Department unless necessary. Staff should avoid including detailed market
participant information and exercise extra caution to send communication only to the
intended recipient. All confidential information sent through electronic files, i.e.,
spreadsheets, screenshots, or documents, should be encrypted and verified to ensure
that the data is associated and directed to the intended recipient. Direct all




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